                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. James Thurman Wiggins Jr.                                          Docket No. 4:16-CR-55-1D

                               Petition for Action on Supervised Release

COMES NOW Jay Kellum, U.S. Probation Officer of the court, presenting a petition for modification of ·
the Judgment and Commitment Order of James Thurman Wiggins Jr., who, upon an earlier plea of guilty
to Conspiracy to Commit Offenses Against the United States, in violation of 18 U.S.C. § 371; False
Statements in Connection With the Federal Crop Insurance Program and Aiding and Abetting, in violation
of 18 U.S.C. § 1014 and 18 U.S.C. § 2; Material False Statements and Aiding and Abetting, in violation of
18 U.S.C. § 1001 and 18 U.S.C. § 2; Aggravated Identity Theft and Aiding and Abetting, in violation of 18
U.S.C. § 2, and 18 U.S.C. § 1028(a)(l); and Conspiracy to Launder Money, in violation of 18 U.S.C. §
1956(h), 18 U.S.C. § 1957, and 18 U.S.C. § 1956 (a)(l),, was sentenced by the Honorable James C.
Dever III, U.S. District Judge, on May 30, 2018, to the custody of the Bureau of Prisons for a term of25
months. It was further ordered that upon release from imprisonment the defendant be placed on supervised
release for a period of 60 months.

James Thurman Wiggins Jr. was released from custody on April 24, 2020, at which time the term of
supervised release commenced.

On August 12, 2020, a Petition for Action was approved by the Court reducing the defendant's monthly
payment from $500 to $25.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

During a routine home visit with the defendant, the undersigned probation officer was made aware that the
U.S. Department of Treasury was withholding a portion of the defendant's monthly social security benefits
and applying the money to his restitution obligation. Further investigation confirmed that $245.72 is being
applied monthly towards his outstanding restitution. Accordingly, we would respectfully request that the
defendant no longer be required to make $25 monthly payments. The U.S. Probation Office will continue
to monitor the defendant's restitution, and should additional information present itself that would
necessitate change or revision, the Court will be notified.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

The defendant is not required to make his monthly $25 payments. The probation officer shall continue to
monitor the defendant's ability to pay and shall notify the Court of any needed modifications of the
payments schedule. Except as herein modified, the judgment shall remain in full force and effect.




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James Thurman Wiggins Jr.
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Pagel


Reviewed and approved,                             I declare under penalty of perjury that the foregoing
                                                   is true and correct..


Isl David W. Leake                                 Isl Jay Kellum
 David W. Leake                                      Jay Kellum
, Supervising U.S. Probation Officer                 U.S. Probation Officer
                                                     200 Williamsburg Pkwy, Unit 2
                                                     Jacksonville, NC 28546-6762
                                                     Phone: 910-346-5109
                                                   · Executed On: October1 1, 2021
                                                                    1
                                       ORDER OF THE COURT

Considered and ordered this     4        day of   ockh 4 A.             , 2021, and ordered filed and
made a part of the records in the above case.


Jam; C. Dever III
U.S. District Judge




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